         Case 1:23-cr-00020-SPW Document 25 Filed 08/09/23 Page 1 of 10




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                               BILLINGS DIVISION


  UNITED STATES OF AMERICA,
                                                   CR23-20-BLG-SPW
                       Plaintiff,

  vs.                                               ORDER


  MOISES ZAMORA,

                       Defendant.


        Before the Court is Defendant Moises Zamora's Motion to Suppress. (Doc.

20). Zamora seeks to suppress all evidence obtained from his detention and arrest

on the grounds that law enforcement did not have reasonable suspicion to seize

him by blocking in his vehicle in the gas station parking lot. {Id.), The United

States filed a response brief in opposition to the motion. (Doc. 23). Zamora did

not file a reply.

        Neither party requested a hearing. The Court has reviewed Zamora's

exhibits, namely Yellowstone County Sheriffs Deputy Harrison Gillen's case

report and dash camera footage. (Docs. 21-1, 22). The parties do not dispute the

correctness ofthese exhibits, and there are no disputes of fact for the Court to

resolve. Zamora's motion is purely based on legal grounds. As such,the Court

concludes that the matter can be resolved without a hearing. United States v.

Howell,231 F.3d 615,620(9th Cir. 2000)("An evidentiary hearing on a motion to
Case 1:23-cr-00020-SPW Document 25 Filed 08/09/23 Page 2 of 10
Case 1:23-cr-00020-SPW Document 25 Filed 08/09/23 Page 3 of 10
Case 1:23-cr-00020-SPW Document 25 Filed 08/09/23 Page 4 of 10
Case 1:23-cr-00020-SPW Document 25 Filed 08/09/23 Page 5 of 10
Case 1:23-cr-00020-SPW Document 25 Filed 08/09/23 Page 6 of 10
Case 1:23-cr-00020-SPW Document 25 Filed 08/09/23 Page 7 of 10
Case 1:23-cr-00020-SPW Document 25 Filed 08/09/23 Page 8 of 10
Case 1:23-cr-00020-SPW Document 25 Filed 08/09/23 Page 9 of 10
Case 1:23-cr-00020-SPW Document 25 Filed 08/09/23 Page 10 of 10
